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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Tn re: Chapter 11

 

FOAMEX INTERNATIONAL INC.

)
) Case No. 05—12685 (KG)
)
)

Pkt. Reference Nos, 2602 & 2609

Reorganized Debtor.

ORDER APPROVING REORGANIZED DEBTOR’S MOTION FOR
FINAL DECREE PURSUANT TO BANKRUPTCY CODE
SECTION 350 AND BANKRUPTCY RULE 3022

Upon consideration of the motion (the “Motion”) [Docket No. 2602]! of Foamex
International, Inc., the above-captioned reorganized debtor (the “Reorganized Debtor”), for entry
of a final decree closing its chapter 11 case pursuant to section 350 of title 11 of chapter 1] of the
United States Code (the “Bankruptcy Code”), Rule 3022 of the Federal Rules of Bankruptcy
Procedure and Rule 5009-1 of the Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court for the District of Delaware; and upon consideration of the
Objection of the Bank of New York as Indenture Trustee (the “BNY Objection”) [Docket No.
2609] filed by Bank of New York, as Indenture Trustee (“BNY”) whereby BNY objected to the
eniry of a final decree in this case due to (i) the pendency of the BNY Appeal (as defined in the
BNY Objection), and (ii) the outstanding dispute among the Reorganized Debtor and BNY
regarding BNY’s attorneys” fees (as described more fully in paragraph 4 of the BNY Objection,”

the “BNY Fee Dispute”); and the Court having been advised that the Reorganized Debtor and

RNY have resolved the issues raised in the BNY Objection and that, in light thereof, BNY has

 

| Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the Motion.
> Nothing set forth in this Final Decree (as defined below) is intended to, nor shall it, be considered a concession on

the part of the Reorganized Debtor that the description of the BNY Fee Dispute set forth in the BNY Objection,
including paragraph 4 thereof, is accurate.

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consented to the entry of this final decree (the “Final Decree’); and it appearing that due and

adequate notice of the Motion has been given, and that no other or further notice need be given;
and after due deliberation and sufficient cause appearing therefor, it is hereby:

ORDERED that the Motion is granted, as set forth herein; and it is further

ORDERED that chapter 11 case of the Reorganized Debtor (Case No. 05-12685
(KG)) is hereby closed pursuant to section 350(a) of the Bankruptcy Code and a final decree is
hereby granted for the Reorganized Debtor’s chapter 11 case effective as of the date hereof; and
it is further

ORDERED that entry of this Final Decree is without prejudice to BNY’s right to
seek to reopen this case pursuant to section 350(b) of the Bankruptcy Code (the “BNY Motion to
Reopen”) in order to file a motion seeking an allowed administrative expense request related to
the BNY Fee Dispute (the “BNY Fee Motion”); and it is further

ORDERED that upon the filing of the BNY Motion to Reopen, the Reorganized
Debtor, by agreement, is hereby deemed to have consented to the reopening of this case for the
purpose of permitting BNY to file the BNY Fee Motion; and it is further

ORDERED that to the extent any matter currently on appeal before the United
States District Court for the District of Delaware in the BNY Appeal is reversed and remanded to
this Court for further proceedings, the Reorganized Debtor, by agreement, is hereby deemed to
have consented to the reopening of this case for the purpose of adjudicating such remanded
matters; and it i$ further

ORDERED that nothing set forth in the Motion or in this Final Decree was

intended to, nor does it, cut off or impair any rights BNY may have to the attomeys’ fees and

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costs underlying the BNY Fee Dispute, if any, or to full adjudication of any issucs remanded for
further proceedings in the BNY Appeal, if any; and it is further

ORDERED that cause (as that term is used in section 350(b) of the Bankruptcy
Code) is deemed to exist upon the filing by BNY of the BNY Motion to Reopen in order to file
the BNY Fee Motion; and it is further

ORDERED that unless expressly stated in this Final Decree, nothing set forth
herein shall limit any right, claim or argument of the Reorganized Debtor with respect to the
BNY Fec Dispute, the BNY Fee Motion or the BNY Appeal, and the Reorganized Debtor’s right
to oppose the BNY Fee Dispute, the BNY Fee Motion or the BNY Appeal on any and ail
grounds are unaffected by this Final Decree; and it is further

ORDERED that the services of Epiq Systems, Inc., f/k/a Bankruptcy Services,
Inc., (“Epiq”) may be terminated by the Reorganized Debtor without further order of the Court
or notice to any party other than Epiq. Epiq will prepare final claims registers for the Clerk’s
Office pursuant to 28 U.S.C. § 156(c); and it is further

ORDERED that the Reorganized Debtor shall complete all remaining quarterly
reports and pay all quarterly fecs due and owing within thirty days of entry of this Order.

Dated: Wilmington, Delaware

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UNITED STATES BANKRUPTCY JUDGE

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